940 F.2d 653Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Rondell Herbert GARRISON, Defendant-Appellant.
    No. 90-6627.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 30, 1990.Decided July 29, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Alexander Harvey, II, Senior District Judge.  (CR-85-405-H;  CA-90-248-H)
      Rondell Herbert Garrison, appellant pro se.
      Catherine Curtis Blake, Office of the United States Attorney, Baltimore, Md., for appellee.
      D.Md.
      AFFIRMED.
      Before WILKINS and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge,
      OPINION
      PER CURIAM:
    
    
      1
      Rondell Herbert Garrison appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Garrison, CR-85-405-H, CA-90-248-H (D.Md. July 5, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    